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Employment and Litigation Attorneys

 

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November 5, 2020

ViA ECF

Honorable John G, Koeltl, U.S.D.J.

United States District Court for the Southern District of New York
500 Pearl Street

New York, NY 10007

Re: Rosales Medina et al v. 400 West 23rd Street Restaurant Corp. et al., 1:]9-cv-06681-JGK

Your Honor:

This office represents the Plaintiff in the above referenced matter. I write to request a ten-
day extension of the time to submit the settlement agreement and accompanying materials. This is
the first request of the kind.

Our firm has made repeated efforts to contact Plaintiff to obtain his review and execution
of the settlement agreement, but, as of this time, we have not been successful. We accordingly
respectfully request an extension of ten days, until November 16, to attempt to secure Plaintiffs
execution of the settlement agreenient | and thereafter submit the agreement for the Court’s
approval.

 

On behalf of Plaintiff, I thank the Court for its attention to this matter.
Respectfully submitted,

/s/ Jordan Gottheim

Jordan Goitheim

MICHAEL FAILLACE & ASSOCIATES, P.C.
Attomeys for the Plaintiff

 

cc: Defendants’ Counsel (via ECF)

 

 

 

 

 

APPLICATION GRANTED
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